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UNITED STATES DISTRICT COURT

DISTRICT OF NEW MEXICO
CLAUDELL HGDGES,
Plaintiff,
v.
Cause No. l:l7-cv-960
GEICO INSURANCE,
Defendant.

NOTICE OF REMOVAL

 

Defenda.nt Governrnent Insurance (hereinafter “GEICO”), by and through its counsel,
Allen, Shepherd, LeWis & Syra, P.A. (Daniel W. Lewis and Tiffany A. Owens), hereby submits
its Notice of Removal and removes this case pursuant to 28 U.S.C. § 1441, and in support
thereof states as follows:

l. By and through this Notice of Removal, GEICO removes all claims asserted by
Plaintiff Claudell Hodges (hereinafcer “Plaintiff”) against GEICO on the basis of diversity
jurisdiction See 28 U.S.C. § 1332(a).

2. Plaintiff filed her “Complaint for Breach of Insurance Contract for First Party
Personal Injury Damages Claim, Violations of Unfair Practices Act, Violations of Insurance
Practices Act and Bad Fait ” (hereinafter “Plaintiff’s Complaint”) on August 8, 2017 in the
Thirteenth Judicial District, County of Valencia, State of New Mexico, Cause No. D-1314-CV-

2017-00934.

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3. Plaintiff served the Complaint and summons on GEICO through the New Mexico
Office of Superintendent of Insurance on September 8, 2017. This removal is therefore timely.
See 28 U.S.C. § l446(b)(l).

4. A copy of the Complaint is attached hereto as “Exhibit A”. See 28 U.S.C. §
1446(a).

5. A copy of all other process, pleadings, and orders served on Defendant in the state
lawsuit are attached hereto as “Exhibit B”. See 28 U.S.C. § 1446(a).

6. A copy of the docket sheet from the state lawsuit is attached hereto as “Exhibit
C”. See 28 U.S.C. § 1446(a).

7. This Court has jurisdiction over all claims in this case pursuant to 28 U.S.C. §§
1332 and l441(a).

8. Venue is proper in this Court since Plaintist claims relate to an insurance policy
issued in New Mexico and insurance claims initiated in NeW Mexico and since the state lawsuit
was filed in New Mexico and removed B‘om a New Mexico state court. See 28 U.S.C. §§ 1391,
l441(a) & 1446(a).

9. Pursuant to 28 U.S.C. Section l446(d), written notice of the filing of this Notice
of Removal will be filed in the state court and served upon Plaintiff promptly after removal.

10. GEICO is filing a Notice of Filing Notice of Removal, a copy of Which is attached
(without its exhibits) to this Notice as “Exhibit D,” with the Clerk of the Thilteenth Judicial
District, County of Valencia, State of New Mexico, pursuant to 28 U.S.C. § l446(d), together

with this Notice.

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ll. Pursuant to D.N.M.LR-CIV. 81.l(a), GEICO Will submit copies of the records
and proceedings from the state court action within twenty-eight days of filing this Notice of
Removal.

Diversity of Citizenship
12. According to her Complaint and upon other information and belief, Plaintiff is a

resident of New Mexico. See EX. A., 11 l.

13. GEICO is a Maryland corporation with its principal place of business in
Maryland.

l4. GEICO is not a resident of New MeXico. See 28 U.S.C. § l446(b)(2).

15. Since Defendant is not a resident of the same state as Plaintiff, complete diversity
of citizenship exists for this case. See 28 U.S.C. § 1332(a)(l).

Amount in Controversy

16. The amount in controversy exceeds $75,000.

17. Although GEICO denies that Plaintiff is entitled to any damages, the amount in
controversy requirement is satisfied by the amount that Plaintiff seeks.

18. New Mexico practice does not permit a demand for a specific sum in a complaint,
see NMRA 1-008(A)(3), and Plaintiff’s Complaint does not assert a specific total sum. See 28
U.S.C. § 1446(0)(2)(A)(ii).

19. Plaintiff has demanded the underinsured motorist policy limits of $25,000, less
the tortfeasor offset. See Ex. A, at 11 l4.

20. Plaintiff’s Complaint also requests interests on the sums allegedly owed under the

policy as damages See Ex. A (prayer for relief).

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21. Plaintiff alleges that GEICO Violated the Unfair Trade Practices Act, see NMSA
57-12-1 et seq., and that GEICO’s conduct was willful. See Ex. A., at ‘H 36-40.

22. The Unfair Trade Practices Act permits the recovery of treble damages for willful
violations of the Unfair Trade Practices Act. See NMSA § 57-12-10(B).

23. Plaintist Complaint alleges that punitive damages should be awarded against
GEICO. See EX. A (prayer for relief).

24. Although no specific amount or multiplier is alleged in Plaintist Complaint,
Plaintiff would likely request a multiplier of one to two times the alleged compensatory
damages.

25. Plaintiff’s Complaint seeks attorney’s fees. See Ex. A (prayer for relief).

26. New Mexico law permits the recovery of reasonable attorney’s fees in first party
lawsuits against insurance companies if the insured prevails and the court finds “that the insurer
acted unreasonably in failing to pay the claim.” See NMSA § 39-2-1.

27. The Unfair Trade Practices Act also provides for attorney’s fees for a plaintiff
who prevails on an Unfair Trade Practices Act. See NMSA § 57-12-10(C).

28. If Plaintiff prevailed on her claims after litigating them through trial, she would
likely claim $50,000 to $60,000 in attomey’s fees based on the type of case, the nature of her
alleged damages, and the allegations against GEICO.

WHEREFORE, Defendant GEICO Insurance gives notice that the above-styled action,
which was pending in the Thirteenth J udicial District, County of Valencia, State of New Mexico,

as Cause No. D-1314-CV-2017-00934 is hereby removed to this Court.

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Electronically Filed,

ALLEN, SHEPHERD, LEWIS & SYRA, P.A.

By: /s/Dam'el W. Lewis
Daniel W. Lewis
Tiffany A. Owens
P.O. Box 94750
Albuquerque, NM 87199-4750
(505) 341-0110
dlewis@allenlawnm.com
towens@allenlawnm.com
Attorneys for Defendant GEICO Insurance

I HEREBY CERTIFY that on the 21St day of September, 2017, I filed
the foregoing electronically through the CM/ECF system, which
caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

Tibo J. Chavez, Jr., Esq. / tchavezlaw(aizianet.com
Attorneyfor Plaintiff

/s/ Daniel W. Lewis
Daniel W. Lewis

